

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 74,861






EX PARTE GARY ARTHUR PICKENS, Applicant








ON APPLICATION FOR WRIT OF HABEAS CORPUS 


FROM TOM GREEN COUNTY






	Per Curiam.



O R D E R



	This is an application for a writ of habeas corpus which was transmitted to this Court
by the clerk of the trial court pursuant to the provisions of Article 11.07, V.A.C.C.P.  Ex Parte
Young, 418 S.W.2d 824 (Tex. Crim. App. 1967).  Applicant was convicted of assault on a
family member and punishment was assessed at two years in prison. 

	Applicant contends that he was denied an opportunity to appeal his conviction because
counsel failed to timely file notice of appeal.  The trial court finds that Applicant is entitled
to an out-of-time appeal.  Therefore, Applicant is entitled to relief. 

	The proper remedy in a case such as this is to return Applicant to the point at which he
may give written notice of appeal.  He may then follow the proper procedures in order that a
meaningful appeal may be filed.  We hold that should Applicant desire to seek to prosecute an
appeal, he must take affirmative steps to see that written notice of appeal is given within thirty
days after the mandate of this Court has issued.

	

DELIVERED: January 14, 2004

DO NOT PUBLISH


